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JOHN J. TUCHI : oo

United States Attorney ee ETE D  SOPY
CA . ! .
Assistant U.S. Attorney QE SEP Thi 5 35
405 West Congress, Suite 4800 oe *
Tucson, Arizona 85701 CURES US SST OT SGURT
Telephone: (520) 620-7300 Wee Si lie a SONA
carin.duryee@usdo). OV .
Attorneys for Plaintiff ~

UNITED STATES DISTRICT COURT
DISTRICT OF (BR ONA

ROU9-2077 TUC-vce|

INDICTMENT HCE
) Violations:
United States of America, )~
18 USC ee 2252(a)(2) and (b)(1)
Plaintiff, 18 USC §§ 2252A(a)(5)(B) and (b)(2)
Vv.
(Attempted Distribution of Child
TONY ALAN BARKER Pornography; Possession of Child
. Pornography)
Defendant. )
THE GRAND JURY CHARGES:
COUNT ONE

~ ATTEMPTED DISTRIBUTION OF CHILD PORNOGRAPHY
On or about July 28, 2008, in the District of Arizona, TONY ALAN BARKER did
knowingly distribute and attempt to distribute, using any means or facility of interstate or
foreign commerce, including by computer, child pornography, that is, visual depictions,
the production of which involved the use of minors engaging'in sexually explicit conduct,
as defined in Title 18, United States Code, Section 2256(2), and which depicted such

conduct, which had been shipped and transported in interstate.or foreign commerce by

means of computer or, otherwise in interstate and foreign commerce, including, but not

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limited to, the following computer files:(pthc) 9yo Vicky stripping and sucking (kiddy

_ pedo illegal underage preteen).mpg; all in violation of Title 18, United States Code,

Sections 2252(a)(2) and (b)(1).
COUNTS TWO THROUGH FOUR
POSSESSION OF CHILD PORNOGRAPHY

On or about August 22, 2008, in the District of Arizona, TONY ALAN BARKER
did knowingly possess child pornography, that is, visual depictions, the production of
which involved the use of minors engaging in sexually explicit conduct, as defined in
Title 18, United States Code, Section 2256(2), and which depicted such conduct, that had
been mailed, shipped and transported in interstate and foreign commerce, and which was _
produced using materials which had been mailed and shipped and transported in interstate
and foreign commerce, by any means, including computer; that is, TONY ALAN
BARKER knowingly possessed computer hard disk drives and documents which
contained images and videos that were part of a collection of visual depictions of minors
engaging in sexually explicit conduct, as defined in Title 18, United States Code, Section —
2256(2), contained on the following materials and which included, but were not limited

to, the following computer file names:

Count Material . Computer File Name(s)

Two Gateway GT5058 computer
s/n XCM62H1002398 “p (the) Syo Vicky stripping and sucking
. - (kiddy pedo illegal underage préteen).mpg”

Three HP Pavilion dv6000 laptop
s/n CNF70722ZC “Preview-1-13828386-fdsa3- 4yo girl pedo

r@ygold hussyfan lolitaguy Ism pthe |
babyshivid.mpg”

“Preview-T-25735594-children sexuall
abused BEAUTIFUL "Venezuela-girls(-
4yo)part-2) pthe hussyfan_ Pedo FuX Makes
A Childs Cute Peepee Orgasm's Happen:
Precious_!! Kids NEED Sex TOO_!! mpg”

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“Preview-T-35810516-Z-3yo girl blowjob &
‘ swallows pedo r@ygold hussyfan lolitaguy
lsm pthe babyshivid.mpg”

”*Preview-T-48949299-1 lyo girl has sex with
mom, then with baby brother — Pedo.mpg”

“Preview-T-137567368-Gay — Kdv 02
Preteen — 2 Young Boys 14 y.o. and 10 y.o.

Playing (Pthe Kiddy Pedo Directed in
Various Acts)(16m31s).mpg”

Four Stack of documents seized from defendant’s pages numbered 2,4,18,
closet by FBI and marked as Item 12 24, 93 and'110

All in violation of Title 18; United States Code, Sections 2252A(a)(5)(B) and
(b)(2).

A TRUE BILL.

JOHN J. TUCHI
United States Attorney

District of Arizona SEP 16 2009

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CARIN C. DURYEE a

Assistant U.S. Attorney

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> PUBLIC DISCLOSttar

